Case 1:20-cv-03010-APM   Document 1146-1   Filed 01/21/25   Page 1 of 10




                   Exhibit A
   Case 1:20-cv-03010-APM                      Document 1146-1                   Filed 01/21/25              Page 2 of 10


From:               Zachary Flood
To:                 Yeager, Christopher; Grace Ramirez
Cc:                 Greenblum, Benjamin; Khetarpal, Mihir; McGowan, John; Marc R. Lewis
Subject:            RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715
Date:               Monday, January 20, 2025 9:07:00 PM



Chris,

To be clear, you are saying that there is not enough time left to work together with the goal of finalizing
search terms by tomorrow, and your proposed solution to that is to have Perplexity blindly agree to
terms it hasn’t been able to run yet because you first proposed them yesterday—on the Sunday
before MLK Day. As you know, those terms could end up producing well over 20, 30, 40, or 50
thousand hits and end up taking Perplexity significantly more time to review and produce.

I genuinely do not understand Google’s brinksmanship or approach to third-party discovery here.
Perplexity has not objected to the substance of any of your proposed search terms. Perplexity has
agreed to run your proposed terms against Perplexity’s three highest ranking executives other than its
CEO. Perplexity has offered to work with you to narrow the document review universe to near 20,000
hits—a number you yourself initially proposed. And Perplexity has offered you a substantial
completion deadline that ensures you will have relevant material in hand before the close of
discovery.

It’s clear we’ve reached agreement on custodians. I reiterate again that the Parties should work
together tomorrow to finalize search terms.

We will work to get you our JSR insert earlier. We propose a joint exchange of inserts at 8:20 am PT /
11:20 am ET.

Best,
Zack

Zachary C. Flood
Lewis & Llewellyn LLP   |  Attorney
601 Montgomery Street, Suite 2000
San Francisco, CA 94111
628-300-1525
www.lewisllewellyn.com

 This email may contain confidential and/or privileged information. If you received this email in error please delete and
 notify sender.



From: Yeager, Christopher <CYeager@wc.com>
Sent: Monday, January 20, 2025 7:16 PM
To: Zachary Flood <zflood@lewisllewellyn.com>; Grace Ramirez <gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; Khetarpal, Mihir <mkhetarpal@wc.com>;
McGowan, John <jmcgowan@wc.com>; Marc R. Lewis <MLewis@lewisllewellyn.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google
   Case 1:20-cv-03010-APM             Document 1146-1           Filed 01/21/25       Page 3 of 10


LLC, No. 20-cv-3715

Zack:

There is simply not enough time in the schedule to accommodate your proposal, especially when the
stated reason for the delay is Perplexity’s desire to negotiate for a reduction in its review burden by
upwards 81%, even after Google already compromised by accepting Perplexity’s proposed
custodians. If Perplexity wanted to limit its review burden to a particular number, it should have
started crafting search strings weeks ago.

We look forward to receiving Perplexity’s JSR insert tomorrow. If you’re able to send it closer to
11:00 am EST than 11:30 am EST, that would be logistically helpful.

Best,
Chris

Christopher Yeager
Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202-434-5621 | Cyeager@wc.com | www.wc.com


From: Zachary Flood <zflood@lewisllewellyn.com>
Sent: Monday, January 20, 2025 4:56 PM
To: Yeager, Christopher <CYeager@wc.com>; Grace Ramirez <gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; Khetarpal, Mihir <mkhetarpal@wc.com>;
McGowan, John <jmcgowan@wc.com>; Marc R. Lewis <MLewis@lewisllewellyn.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google
LLC, No. 20-cv-3715

Chris,

Thank you for your email.

We are willing to run your revised search terms against Mr. Shevelenko, Mr. Yarats, and Mr. Ho’s
custodial collections, and to provide the three categories of information you requested—including
the number of hits reflecting documents sent to or received by Mr. Srinivas. Unfortunately, we are
incapable of doing so on the timeline you requested because today is MLK day, and our discovery
vendor is completely offline. We will provide that information as soon as possible, but it is not going
to be before 9am PT on the Tuesday after a holiday. If we could run your terms and provide the hit
counts ourselves, we would. But we cannot.

If I understand your email below correctly, it sounds like we have an agreement to run your
proposed search terms against the custodial collections of Mr. Shevelenko, Mr. Yarats, and Mr. Ho,
with the goal of reducing the current 51k document review universe. Our goal would be to reduce
that universe to something between 10-15k documents. As I stated, we will run those proposed
   Case 1:20-cv-03010-APM                    Document 1146-1               Filed 01/21/25           Page 4 of 10


terms ASAP and—to the extent any of them produce an excessive number of hits—we will promptly
get back to you with minimally tailored proposed versions of those terms, as well as the
corresponding number of hits they produce. Our goal would be to complete that exchange and
iteration process and arrive at final terms by tomorrow.

Even if the whole of your new set of terms does not substantially reduce the hit counts universe
below 15k, to the extent there are any individual terms that produce a reasonable number of unique
hits + families, we can commit that we will begin processing that subset of documents immediately
for review and production. Given Google’s need for urgency, if we can agree on this process now
and begin our review process, Perplexity can commit to substantially complete its ESI production by
February 7.

I’m hopeful this agreement means we can avoid burdening the Court with this issue any further, and
that we can use tomorrow’s JSR to announce that we have discussed a path forward and hope to
reach final agreement on terms within the next day. To that end, we suggest informing the Court
that we have reached an agreement in principle and that if any other disputes arise, we will raise
them in a joint submission this Thursday.

If Google is not interested in pursuing this proposed compromise, please let us know by tonight so
that we can prepare a short insert for the JSR explaining our proposal to the Court. We will aim to
have our insert to you by 8:30am PT tomorrow.

Please feel free to give me a call if you would like to discuss. I’m free this afternoon from now
through 4:30pm PT / 7:30pm ET.

Best,
Zack

Zachary C. Flood
Lewis & Llewellyn LLP   |  Attorney
601 Montgomery Street, Suite 2000
San Francisco, CA 94111
628-300-1525
www.lewisllewellyn.com

 This email may contain confidential and/or privileged information. If you received this email in error please delete and
 notify sender.



From: Yeager, Christopher <CYeager@wc.com>
Sent: Sunday, January 19, 2025 12:41 PM
To: Zachary Flood <zflood@lewisllewellyn.com>; Grace Ramirez <gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; Khetarpal, Mihir <mkhetarpal@wc.com>;
McGowan, John <jmcgowan@wc.com>; Marc R. Lewis <MLewis@lewisllewellyn.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google
LLC, No. 20-cv-3715
   Case 1:20-cv-03010-APM             Document 1146-1          Filed 01/21/25        Page 5 of 10


Zack:

We are disappointed to hear that Perplexity is unwilling to accept our compromise and that “[i]t
w[ould] take a bit of time” for Perplexity to propose search terms of its own, time that we do not
have in the case schedule, especially with Perplexity having started late. Like the Court, our
“number one priority . . . is to get [our client] the information it needs and do so quickly.” Hr’g Tr.
28. On that understanding, it sounds as though the best road forward is for Perplexity to review the
set of 51,811 documents that it already has assembled and begin rolling productions right away.
Based on your description, we believe that set of documents has a sufficient number of Mr. Srinivas’
communications for us to feel comfortable that we are getting what we need, so this is a
compromise that we could live with. Is Perplexity willing to this approach?

We recognize that 51k documents is more than your client hoped to review. To that end, we would
not object in principle if Perplexity were to test the somewhat revised search terms that we’ve set
forth below against Mr. Yarats’, Mr. Ho’s, and Mr. Shevelenko’s files, provided that you can provide
us by tomorrow at 8:00 pm EST (1) a globally de-duplicated hit count, (2) the number of unique
emails that were either sent by or received by Mr. Srinivas, and (3) confirmation that the proposed
revisions of the terms will not delay the commencement of your review. If the results are
acceptable, we presumably could live with these revised search terms, although, without seeing the
numbers, we of course cannot know for sure, and we certainly cannot accommodate any further
delay.

Lastly, as you know, we need to tee this issue up for the Court on Tuesday mid-day. In the event
that we are not able to resolve matters, could you send us your JSR insert on Tuesday at 11:00 am
EST?

Best,
Chris

 Request         Google’s Alternative Strings
 No.
 First           ((agreement! OR contract! OR partner! OR redlin! OR negotiat! OR analy! OR “joint
 Subpoena,       venture” OR JV OR “joint development” OR relationship! OR collaborat!) W/8
 Request         W/12 ((exclusiv! OR DSE OR default! OR pre-install! OR preinstall! OR pre-set! OR
 No. 1           preset! OR place OR places OR placed OR placing OR placement OR promot! OR
                 distribut! OR preload! OR syndicat! OR integrat! OR (shar! W/2 rev!) OR revshare)
                 W/6 W/8 (Bing! OR Edge OR Microsoft OR MSFT OR Copilot OR Prometheus OR
                 Gemini OR Bard OR Claude OR ChatGPT OR SearchGPT OR Haiku OR Apple OR
                 APPL OR Perplexity OR GPT! Or 4o! OR “You.com” OR Claude! OR Sonnet! Or
                 Sonar! OR Grok! OR xAI! OR {code name for Bing} OR {code name for Edge} OR
                 {code name for Microsoft} OR {code name for Copilot} OR {code name for
                 Prometheus} OR {code name for Gemini/Bard} OR {code name for Claude} OR
                 {code name for Sonar} OR {code name for Grok} OR {code name for xAI} OR {code
                 name for ChatGPT} OR {code name for SearchGPT} OR {code name(s) for
                 Perplexity’s models} OR {code name(s) for the Perplexity Service} OR {code
 Case 1:20-cv-03010-APM            Document 1146-1      Filed 01/21/25       Page 6 of 10


            name(s) for the Perplexity App} OR Sydney OR {code name for Apple} OR {code
            name for You.Com}))) OR ((distribution OR integration OR service! OR syndicat! OR
            licens!) W/2 agreement) OR ((Bing! OR Edge OR Microsoft OR MSFT OR Copilot OR
            Prometheus OR Gemini OR Bard OR Claude OR ChatGPT OR SearchGPT OR Haiku
            OR Apple OR APPL OR Perplexity OR GPT! Or 4o! OR “You.com” OR Claude! OR
            Sonnet! Or Sonar! OR Grok! OR xAI! OR {code name for Bing} OR {code name for
            Edge} OR {code name for Microsoft} OR {code name for Copilot} OR {code name
            for Prometheus} OR {code name for Gemini/Bard} OR{code name for Claude} OR
            {code name for Sonar} OR{code name for Grok} OR {code name for xAI} OR {code
            name for ChatGPT} OR {code name for SearchGPT} OR {code name(s) for
            Perplexity’s models} OR {code name(s) for the Perplexity Service} OR {code
            name(s) for the Perplexity App} OR Sydney OR {code name for Apple} OR {code
            name for You.Com}) AND (“115 Sansome” OR “575 Market” OR 94105 OR 94104)
            AND (termination! OR definition! OR “witness whereof”))
Second      As to “generative AI’s relationship with Search Access Points”
Subpoena,
Request     ((Bing! OR Edge OR “search engine” OR GSE OR Google OR Chrome OR browser
No. 2       OR {code name for Bing} OR {code name for Edge} OR {code name for OpenAI
            browser} OR {code name for Google / Chrome}) W/10 W/7 (GPT! OR Claude! OR
            Sonar! OR 4o! OR Haiku! OR Grok! OR xAI! OR Perplexity OR {code name for xAI}
            OR {code name for ChatGPT} OR {code name for Claude} OR {code name(s) for
            Perplexity’s models} OR {code name(s) for the Perplexity Service} OR {code
            name(s) for the Perplexity App})) OR (Bing! W/7 (GPT! OR Claude! OR Sonar! OR
            4o! OR Haiku! OR Grok! OR xAI!))

            As to “distribution”

            [See Subpoena 1, RFP 1]

            As to “barriers to entry and expansion”

            (investment! OR barrier! OR moat! OR capital! OR cloud!) AND W/10 (GPT! OR
            Claude! OR Sonar! OR 4o! OR Haiku! OR Grok! OR xAI! OR Perplexity OR {code
            name for xAI} OR {code name for ChatGPT} OR {code name for Claude} OR {code
            name(s) for Perplexity’s models} OR {code name(s) for the Perplexity Service} OR
            {code name(s) for the Perplexity App})

            As to “data sharing”

            (“data sharing” OR API) W/ 7 W/10 (GPT! OR Claude! OR Sonar! OR 4o! OR Haiku!
            OR Grok! OR xAI! OR Perplexity OR {code name for xAI} OR {code name for
            ChatGPT} OR {code name for Claude} OR {code name(s) for Perplexity’s models}
            OR {code name(s) for the Perplexity Service} OR {code name(s) for the Perplexity
            App})

Second      (strategy OR strategies OR strategic OR roadmap OR vision) w/3 (Bing! OR Edge OR
Subpoena,   Microsoft OR MSFT OR Copilot OR Prometheus OR Gemini OR Bard OR Claude OR
   Case 1:20-cv-03010-APM             Document 1146-1           Filed 01/21/25       Page 7 of 10


 Request         ChatGPT OR SearchGPT OR Haiku OR Apple OR APPL OR Perplexity OR GPT! Or 4o!
 No. 3           OR “You.com” OR Claude! OR Sonnet! Or Sonar! OR Grok! OR xAI! OR {code name
                 for Bing} OR {code name for Edge} OR {code name for Microsoft} OR {code name
                 for Copilot} OR {code name for Prometheus} OR {code name for Gemini/Bard} OR
                 {code name for ChatGPT} OR {code name for SearchGPT} OR {code name(s) for
                 Perplexity’s models} OR {code name(s) for the Perplexity Service} OR {code
                 name(s) for the Perplexity App} OR Sydney OR {code name for Apple} OR {code
                 name for You.Com})




Christopher Yeager
Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202-434-5621 | Cyeager@wc.com | www.wc.com


From: Zachary Flood <zflood@lewisllewellyn.com>
Sent: Friday, January 17, 2025 8:14 PM
To: Yeager, Christopher <CYeager@wc.com>; Grace Ramirez <gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; Khetarpal, Mihir <mkhetarpal@wc.com>;
McGowan, John <jmcgowan@wc.com>; Marc R. Lewis <MLewis@lewisllewellyn.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google
LLC, No. 20-cv-3715

Chris,

We continue to disagree that Mr. Srinivas’ email is relevant. To confirm the point the Court addressed
at today’s hearing, we have confirmed that of the 51,811 unique hits we are currently looking at from
the custodial collections of Messrs. Shevelenko, Ho, and Yarats, that includes 7,585 unique emails
that were either sent by or received by Mr. Srinivas. That means that approximately 15% of the total
document review universe produced by these terms consists of the same material you would have
obtained from Mr. Srinivas’ custodial collection. We assume that addresses any concern that not
including Mr. Srinivas as a custodian will somehow deprive Google of information relevant to its three
pending ESI requests.

In the interests of compromise, if Google is willing to drop its demand for Mr. Srinivas’ custodial
collection, we are willing to move forward with ESI terms yielding an approximately 20,000-unique hit
review universe.

It will take a bit of time, but we will propose search terms that we believe will capture what your
initially proposed search terms were targeted towards and which yield approximately 20,000 unique
hits. In terms of order of operations, I suggest we propose search terms to you on Tuesday and
provide relevant hit counts. Then you can propose any tweaks to those terms and we will run them
   Case 1:20-cv-03010-APM                    Document 1146-1               Filed 01/21/25           Page 8 of 10


again and iterate from there until we are close to approximately 20,000 unique hits.

Best,
Zack

Zachary C. Flood
Lewis & Llewellyn LLP   |  Attorney
601 Montgomery Street, Suite 2000
San Francisco, CA 94111
628-300-1525
www.lewisllewellyn.com

 This email may contain confidential and/or privileged information. If you received this email in error please delete and
 notify sender.



From: Yeager, Christopher <CYeager@wc.com>
Sent: Friday, January 17, 2025 11:52 AM
To: Zachary Flood <zflood@lewisllewellyn.com>; Grace Ramirez <gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; Khetarpal, Mihir <mkhetarpal@wc.com>;
McGowan, John <jmcgowan@wc.com>; Marc R. Lewis <MLewis@lewisllewellyn.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google
LLC, No. 20-cv-3715

Zack:

Further to the below and Judge Mehta’s guidance at today’s status conference, please let us know
whether Perplexity agrees to the proposal below. If it does, we are prepared to exchange search
strings today at 7:00 pm EST.

Thank you,
Chris

Christopher Yeager
Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202-434-5621 | Cyeager@wc.com | www.wc.com


From: Zachary Flood <zflood@lewisllewellyn.com>
Sent: Thursday, January 16, 2025 11:39 PM
To: Yeager, Christopher <CYeager@wc.com>; Grace Ramirez <gramirez@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; Khetarpal, Mihir <mkhetarpal@wc.com>;
McGowan, John <jmcgowan@wc.com>; Marc R. Lewis <MLewis@lewisllewellyn.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google
LLC, No. 20-cv-3715

Chris,
   Case 1:20-cv-03010-APM                    Document 1146-1               Filed 01/21/25           Page 9 of 10




Thank you for your proposal. We will discuss with our client and get back to you with a response.

I also wanted to pass along fully de-duped numbers we received from our vendor. All of Google’s
proposed search strings (without additional code names or placeholders) produce a unique review
universe of 51,811 documents from the custodial collections of Mr. Shevelenko, Ho, and Yarats.

Best,
Zack

Zachary C. Flood
Lewis & Llewellyn LLP   |  Attorney
601 Montgomery Street, Suite 2000
San Francisco, CA 94111
628-300-1525
www.lewisllewellyn.com

 This email may contain confidential and/or privileged information. If you received this email in error please delete and
 notify sender.



From: Yeager, Christopher <CYeager@wc.com>
Sent: Thursday, January 16, 2025 4:22 PM
To: Grace Ramirez <gramirez@lewisllewellyn.com>; Zachary Flood <zflood@lewisllewellyn.com>
Cc: Greenblum, Benjamin <BGreenblum@wc.com>; Khetarpal, Mihir <mkhetarpal@wc.com>;
McGowan, John <jmcgowan@wc.com>
Subject: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC,
No. 20-cv-3715

Zack:

Having reviewed the issues raised in the briefing, we propose the following compromise:

   1. Perplexity uses Shevelenko, Srinivas, and Ho as custodians for all requests.

   2. Google and Perplexity will simultaneously and mutually exchange a search string proposal
      tomorrow at 7:00 pm EST for each request with the goal of having a hit count of
      approximately 20,000 documents (including family members) in total. Perplexity will test
      those search strings and will provide Google a truly de-duplicated hit count by Tuesday,
      January 21, at 12:00 pm EST. Perplexity will agree to run whichever company’s proposal is
      closer to 20,000 total documents (when taking family members into account). For sake of
      absolute clarity:

           a. It is not sufficient to determine hit count by summing the number of hits for particular
              strings; hit counts refer to universally de-duplicated hit counts.

           b. Perplexity’s proposed search string must contain some language designed to capture
  Case 1:20-cv-03010-APM                  Document 1146-1              Filed 01/21/25          Page 10 of 10


               Perplexity’s answer engine and app. In other words, Perplexity cannot make a proposal
               that, like its last one, would include the names of the chatbots marketed by other
               companies while not covering its own answer engine and application.

    3. Perplexity will substantially complete document production by Friday, January 31.

I am available to confer between 12:00 pm 1:00 pm EST tomorrow if you’d like.

Best,
Chris

Christopher Yeager
Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202-434-5621 | Cyeager@wc.com | www.wc.com




This message and any attachments are intended only for the addressee and may contain information that is
privileged and confidential. If you have received this message in error, please do not read, use, copy, distribute, or
disclose the contents of the message and any attachments. Instead, please delete the message and any attachments
and notify the sender immediately. Thank you.
